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         Case: 1:18-cr-00558 Document #: 1 Filed: 09/06/18 Page 1 of 6 PageID #:1

FILED
   sEP   - 6 2U8{t'              UNITED STATES DISTRICT COURT

ffi                              NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

  UNITED STATES OF AMERICA

                  V.
                                                      No.
                                                              18CR 558
                                                      Violations: Title 18, United States Code,
                                                      Sections 371 and 666
  MILOT CADICHON                                                          JUDGE DOW
                                                                   MAGBTRAID JI'DCE WDISIUAN
                                             COUNT ONE

         The SPECIAL DECEMBER 2017 GRAND JURY charges:

         1.      At times material to this indictment:

                 a.     The City of Chicago was a local govemment located in Cook County and

 the Northern District of Illinois. The functions and services provided by the City on behalf of its

 residents were coordinated through various agencies and departments. The Chicago Police

 Department was the principal law enforcement agency of the City of Chicago. The Chicago Police

 Department received in excess of $10,000 in federal funding for each calendar year from 2015

 through 2017.

                 b.     Richard Burton owned and operated the National Attorney Referral Service,

 a company that had a Post     Office Box in Bloomingdale, Illinois. Burton and the National Attorney

 Referral Service recruited clients for attomeys and received compensation from attomeys in

 exchange for the referrals.

                 c.     Defendant MILOT CADICHON was employed by the Chicago Police

 Department as apolice officer from approximately 1998 through and including20lT. CADICHON

 was an agent of the Chicago Police Department during his tenure as a police officer.
       Case: 1:18-cr-00558 Document #: 1 Filed: 09/06/18 Page 2 of 6 PageID #:2




                d.      The Chicago Police Department required its officers to follow the

Department's Rules and Regulations and General Orders. Chicago Police Department Rule 4

prohibited officers from any conduct or action taken to use the official position for personal gain

or influence. Chicago Police Department Rule 48 prohibited officers from soliciting or accepting

any gratuity, or soliciting or accepting a gift, present, reward, or other thing of value for any service

rendered as a Department member, or as a condition for the rendering of such service, or as a

condition for not performing sworn duties.

                        ln the City of Chicago, traffic crash reports were either filled out by a police

officer who appeared on the scene of an accident, or by a complainant appearing in person at a

local police station.

                        Copies of traffic crash reports were not immediately available to the public.

After a period of processing that could range from 24 hours to several weeks, a member of the

public could request a copy of a traffic crash report from the Chicago Police Department for a fee.

                g.      Chicago police officers had access to traffic crash reports. Police officers

were permitted to access traffic crash reports   if they had a legitimate law enforcement purpose for

doing so. Police officers were not permitted to access or disclose information contained in traffic

crash reports for non-law enforcement purposes.

                h.      Chicago Police Department Special Order 504-07-08, entitled, "Processing

Illinois Traffic Crash Reports," provided, in part, that "District members will not distribute copies

of Illinois Traffic Crash Reports to non-Department members but will direct them to the Records

Inquiry Section, Records Division, to obtain copies."
       Case: 1:18-cr-00558 Document #: 1 Filed: 09/06/18 Page 3 of 6 PageID #:3



               i.      MoneyGram was an electronic money transfer service that sent money from

one party to another by interstate wire. Wire transfers through MoneyGram traveled        in interstate

commerce.

       2.      From no later than in or about 2015 and continuing until in or about October 2017,

at Chicago, in the Northern District of Illinois, Eastern Division, and elsewhere,

                                       MILOT CADICHON,

defendant herein, knowingly conspired and agreed with Richard Burton to commit an offense

against the United States, that is, to use and cause to be used a facility in interstate commerce   with

the intent to promote, manage, and carry on, and to facilitate the promotion, management, and

carrying on, of an unlawful activity, namely, bribery in violation        of 720 ILCS 5/33-1,       and

thereafter, did perform and attempt to perform an act of promotion, management, and carrying on,

and facilitation of the promotion, management, and carrying ofl, of the unlawful activity, in

violation of Title 18, United States Code, Section 1952(a)(3).

                               Manner and Means of the Conspiracy

       3.      It was part of the conspiracy that CADICHON disclosed to Burton traffic           crash

reports and information contained in the reports, including contact information for accident victims

from police officers, contrary to the Chicago Police Department's policy goveming the disclosure

of such reports.

       4.      It was further part of the conspiracy that CADICHON provided information               to

Burton in various ways, including using a cellular telephone to send victims' contact information

by text message.

       5.      It was further part of the conspiracy that Burton paid CADICHON money so that

CADICHON would provide Burton early access to traffic crash reports and information contained
           Case: 1:18-cr-00558 Document #: 1 Filed: 09/06/18 Page 4 of 6 PageID #:4

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    in the reports,     before the reports and information were publicly available. Burton paid

    CADICHON at least approximately $7,350 in exchange for traffic crash reports and information

    CADICHON provided.

           6.      It was further part of the conspiracy that Burton paid CADICHON cash bribes in

    person and also used MoneyGram and other wire transfer services to pay bribes to CADICHON.

           7.      It was further part of the conspiracy that Burton used the traffic crash reports from

    CADICHON to solicit accident victims as clients for attorneys and to obtain a financial benefit

    from the disclosure and use of the contact information of accident victims.

           8.      It   was further part of the conspiracy that Burton and CADICHON concealed,

    misrepresented and hid, and caused to be concealed, misrepresented, and hidden, the existence and

    purpose of the conspiracy, and acts done in furtherance of the conspiracy.

                                                Overt Acts

           9.      In furtherance of the conspiracy and to effect its unlawful objectives, CADICHON

    and Burton committed and caused to be committed the following overt acts, among others:

                   a.       On or about January 13,2017, CADICHON sent Burton a text message

    containing information from traffic crash reports, including contact information for accident

    victims.

                   b.       On or about January 15,2017, Burton caused a wire transfer to be sent for

    approximately $225, payable to CADICHON.

                   c.       On or about May 18, 2017, CADICHON sent Burton a text              message

    containing information from traffic crash reports, including contact information for accident

    victims.

                   d.       On or about May 20, 2017, Burton caused a wire transfer to be sent for
       Case: 1:18-cr-00558 Document #: 1 Filed: 09/06/18 Page 5 of 6 PageID #:5



approximately $450, payable to CADICHON.

               e.      On or about June 24, 2017, CADICHON sent Burton a text          message


containing information from traffic crash reports, including contact information for accident

victims.

               f.      On or about June 30, 2017, Burton caused a wire transfer to be sent for

approximately $300, payable to CADICHON.

               g.      On or about August 3,2017, CADICHON sent Burton a text          message

containing information from traffic crash reports, including contact information for accident

victims.

               h.      On or about August 4, 2017 , Burton caused a wire transfer to be sent for

approximately $375, payable to CADICHON.

       All in violation of Title   18, United States Code, Section 371.
        Case: 1:18-cr-00558 Document #: 1 Filed: 09/06/18 Page 6 of 6 PageID #:6



                                            COUNT TWO

        The SPECIAL DECEMBER 2017 GRAND JURY further charges:

        1.     The allegations in paragraph      I of Count One of this indictment   are incorporated

here.

        2.     From no later than in or about 2015 and continuing to on or about December          l,
2017 , at Chicago,   in the Northern District of Illinois and elsewhere,

                                         MILOT CADICHON,

defendant herein, being an agent of the Chicago Police Department, an agency that received federal

benefits in excess of $10,000 in the twelve-month period from January 1,2017 , through December

3I,2017, comrptly accepted and agreed to accept things of value, namely, cash payments,

intending to be influenced and rewarded in connection with any business, transaction, or series of

transactions of the Chicago Police Department involving a thing of value          of $5,000 or more,

namely, non-public information contained in Chicago Police Department reports;

        In violation of Title 18, United States Code, Section 666(a)(1)(B).

                                                                           A TRUE BILL:




                                                                           FOREPERSON




UNITED STATES ATTORNEY
